UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

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CONSUMER FINANCIAL, : i?-CV-SQO (LAP}
PROTECTION BUREAU, et al., ‘

Plaintiffs,

Order
v.

RD LEGAL FUNDING, LLC, et al.,:

Defendants.
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Loretta A. Preska, Senior United States District Judge:

In response to the Consumer Financial Protection Bureau’s
(“CFPB”) request for entry of a final judgment against it
pursuant to Rule 54(b) following the June 21, 2018 Order
dismissing the CFPB’s claims in this case, (ECF No. 92), the
Court concludes that entry of such judgment is warranted. The
Court also denies Defendants’ (collectively, the “RD Legal
Parties”) request for certification of the New York Attorney
General’s claims that were upheld in the June 21, 2018 Order for
interlocutory appeal pursuant to 28 U.S.C. § 1292(b). Finally,
to avoid prejudicing the parties, the RD Legal Parties’ request
to stay the proceedings in this case pending the Court of
Appeals' resolution of the CFPB’s anticipated appeal of this
Court’s June 21, 2018 Order is granted.

Rule 54(b) permits a district court to certify a final

judgment where “(l) there are multiple claims or parties, (2} at

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least one of the claims or the rights and liability of at least
one party has been finally determined, and {3) ‘there is no just
reason for delay.'” Grand River Enters. Six Nations, Ltd. v.
§rygr, 425 F.3d 158, 164-65 (2d Cir. 2005) (quoting Fed. R. Civ.
P. 54(b)). As the CFPB notes, each of these requirements is
satisfied here. This action involved two plaintiffs (the Bureau
and the Attorney General of the State of New York), and the
Court’s Opinion and Order of June 21, 2018 finally resolved the
CFPB's claims. (§ee ECF No. 80 at 103) (“the CFPB's claims are
dismissed”). As to the third requirement, the Court has taken
into account the parties’ letters on entry of a final judgment
under Rule 54(b), (§ee ECF Nos. 86, 90, 94, 95, 96), and
concludes that there is no just reason for delay - both the
equities to the parties and the Court's interest in sound
judicial administration and efficiency weigh heavily in favor of
entering a final judgment. See Curtissmwright Corp. v. General
Elec. Co., 446 U.S. l, 8 (1980) (“[l]n deciding whether there
are no just reasons to delay the appeal of individual final
judgments . . . , a district court must take into account
judicial administrative interests as well as the equities
involved.”). Accordingly, the CFPB's request for final judgment
under Rule 54(b) is granted.

Regarding the RD Legal Parties' request that the Court

certify the claims that were not dismissed in the Court’s June

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21, 20l8 Order for interlocutory appeal under 28 U.S.C.

§ 1292(b), this request is denied. Section l292(b) provides for
the appeal of an interlocutory order when the Court is “of the
opinion that such order involves a controlling question of law
as to which there is substantial ground for difference of
opinion and that an immediate appeal from the order may
materially advance the ultimate termination of the litigation.”
28 U.S.C. § 1292(b).

The controlling question of law as to the Court’s subject
matter jurisdiction, and thus as to the order dismissing the
CFPB, relates to the constitutionality of the CFPB's structure.
As evidenced by the Court of Appeals for the District of
Columbia’s decision in PHH Corp. v. CFPB, 88l F.Bd 75 (D.C. Cir.
2018), there is substantial ground for difference of opinion on
that issue. Assuming that the CFPB proceeds with its stated
intention of appealing this Court’s June 2l, 2018 Order
dismissing its claims against the RD Legal Parties, the final
disposition of that appeal alone will “materially advance the
ultimate termination of the litigation” because it will bring
certainty to the parties in their litigation of the federal
issues presented.

The same cannot be said for the state law issues. By and
large, they are well-settled. At this junction, therefore, the

Court denies the RD Legal Parties’ request for certification of

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the claims that remain in this case following the Court's June

21, 2018 Order for interlocutory appeal.

The Court also grants the RD Legal Parties’ request to stay
the proceedings in this case pending the outcome of the CFPB’s
appeal of the June 21, 2018 Order to the Court of Appeals. A
stay will avoid the possibility of prejudice to the parties and
will mitigate the expense and practical difficulties Defendants

would face if tasked with defending two overlapping trials at

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Conclusion

For the foregoing reasons, (1) the CFPB's request for entry
of final judgment against it under Rule 54(b) is granted, (ECF
No. 92), (2) the RD Legal Parties’ request for certification of
the New York Attorney General's claims that were not dismissed
in the June 21, 2018 Order for interlocutory appeal under 28
U.S.C. § 1292(b) is denied, {ECF Nos. 86, 90, 94, 95, 96), and
(3) the RD Legal Parties' request to stay the case during the

pendency of the CFPB’s appeal of the June 21, 2018 Order to the

Court of Appeals is granted.

Counsel shall confer and propose a form of judgment.

SO ORDERED.

Dated: New York, New York
August o?<_z, 2018

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LORETTA A. PRESKA
Senior United States District Judge

